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 8                               IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                              SAN JOSE DIVISION
11

12
     NETCHOICE, LLC d/b/a NetChoice,                          Case No. 5:22-cv-08861-BLF
13
        Plaintiff,                                            DEFENDANT’S OPPOSITION TO
14                                                            PLAINTIFF’S MOTION FOR
                     v.                                       PRELIMINARY INJUNCTION
15
                                                              Judge: Hon. Beth Labson Freeman
16   ROB BONTA, ATTORNEY GENERAL OF                           Hearing Date: July 27, 2023
     THE STATE OF CALIFORNIA, in his                          Time: 1:30 PM
17   official capacity,                                       Dept: Courtroom 1– 5th Floor
18      Defendant.                                            Action Filed: December 14, 2022
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 1                                               INTRODUCTION

 2           The California Age-Appropriate Design Code Act allows children to explore the internet

 3   while reducing threats to their privacy and safety. The Act operates well within constitutional

 4   parameters. The regulation of businesses—including online businesses—and protection of

 5   children are well-recognized government responsibilities. The Act, which regulates those

 6   businesses that trade in consumers’ personal information and offer products, services, and

 7   features likely to be accessed by children, requires certain actions that proactively protect that

 8   information and prohibits certain actions that involve the collection and use of that information.

 9   Plaintiff’s members do not have a First Amendment right to children’s personal information.

10   Nothing in the Act restricts the content that businesses can provide to minors, and any incidental

11   effect the Act may have on businesses’ speech is justified by the State’s compelling interest in

12   children’s welfare. The Act’s clear and specific requirements and prohibitions, as well as its

13   procedural protections and scienter requirements, ensure that businesses’ rights remain protected.

14   Compliance does not trigger concerns under the dormant Commerce Clause. Nor is the Act

15   inconsistent with existing federal law. This Court should deny Plaintiff’s motion.

16                                                BACKGROUND
17   I.      EXISTING PRACTICES & REGULATION
18           A.    Online Businesses’ Collection and Use of Personal Information
19           The collection, sharing, selling, and other use of personal information provides substantial

20   revenue for online businesses. Egelman Decl. ¶¶ 11–12. Internet companies constantly collect

21   data from individuals online and offline. Id. ¶ 13. This data includes what services people use,

22   how they use them, and from where they use them. Businesses are able to link this data to unique

23   individuals through persistent identifiers, like the device an individual uses to access the internet,

24   which tend not to change over time. Id. ¶ 14. Once data is linked to unique individuals, businesses

25   are able to create thorough individual profiles using information drawn directly from the collected

26   data, and to make predictions and inferences based on that data. Id. ¶¶ 13–14. With this data,

27   businesses can learn, predict, or infer things like user’s interests, preferences, and behaviors as

28   well as more personal details such as religion, health conditions, sexual orientation, or
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 1   socioeconomic status. Id. Highly personal individual information can be predicted or inferred

 2   from minimal data. Id. Geolocation information is a highly valuable piece of data that is widely

 3   available through databases that map Internet Protocol (IP) addresses—which are transmitted

 4   with every internet connection—to physical locations. Id. ¶¶ 13, 31, 55. From this information

 5   alone, a business may be able to accurately predict details about a user’s religion or sexual

 6   orientation. Id. ¶¶ 13–14. Once a business has compiled a profile, those profiles can be used or

 7   sold to third parties to create targeted advertising and learn more about consumer behavior to

 8   maximize profit, among other things. Id. ¶¶ 11–14; Radesky Decl. ¶¶ 66, 68, 78, 89.

 9         Because this mass collection of data raises significant privacy concerns, California
10   regulates the collection and use of consumer data. Existing statutes cover consumer’s “personal
11   information,” which is defined as information that “identifies, relates to, describes,” or is
12   reasonably capable of association with, or linking to, a particular consumer or household. Cal.
13   Civ. Code §1798.140(v) (all statutory references are to the Cal. Civ. Code unless otherwise
14   noted). Personal information includes names, addresses, email addresses, IP addresses,
15   commercial information, browsing history, search history, geolocation data, and information
16   regarding a consumer’s interaction with an internet website. Id. It also includes profiles or
17   inferences made from this information. Id. Businesses must notify consumers that their data is
18   being collected and consumers have the right to direct businesses not to sell or share that
19   information. §1798.100; §1798.120(a). In short, California law intends to empower its residents
20   to control their data. However, practically speaking, businesses do not always provide internet

21   users with the necessary tools to do so. Egelman Decl. ¶¶ 24–34.

22         B.    User Tools for Limiting Collection and Use of Personal Information
23         Privacy Settings: Privacy settings allow users to limit data collection by preventing

24   businesses from storing data, called “cookies,” in the user’s web browser. Egelman Decl. ¶ 29.

25   However, default settings are usually the least restrictive and changing the settings is not always

26   user-friendly. Id. ¶ 19. Even if a user is able to successfully block cookies, businesses now track

27   by other means that are not user-controlled, like “fingerprints”—the aggregating of several data

28   points that are automatically collected, such as personal computer settings and location data, and
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 1   used to identify the user. Id. ¶¶ 30–31. Users can do little to stop collection of this data. Id.

 2           Terms of Service, Privacy Policies, and Community Standards: Although terms of

 3   service and the like are supposed to allow users to make informed decisions about how and

 4   whether to engage with a business, numerous studies have shown that terms of service and

 5   privacy policies often prove indecipherable, if a user can even find them, and often do not

 6   accurately describe the service’s behavior. Egelman Decl. ¶¶ 24–28; Radesky Decl. ¶ 93. These

 7   policies typically allow businesses maximum flexibility in using the personal information they

 8   collect. See Egelman Decl. ¶¶ 13–14, 28. Also, community standards are intended to inform

 9   consumers about how the business moderates its own platform, but it is extremely difficult for
10   users to hold businesses accountable for enforcing these policies, and businesses’ own
11   enforcement is typically, at best, reactive. Radesky Decl. ¶¶ 72, 95.
12           Consumer Reporting: Most online businesses purport to provide a way for users to
13   contact the business to ask questions or report concerns. But in practice, there is no method for
14   parents or youth seeking to provide feedback (other than blocking/reporting content) or report a
15   recurrent problem with specific platforms. Radesky Decl. ¶ 94. Parents whose children have died
16   after cyberbullying or taking part in social media challenges have reported trying to get in touch
17   with social media companies, but being ignored. Id. If a business fails to take adequate action or
18   respond at all to a reported concern, there is little a user can do. Id. ¶¶ 94–95.
19   II.   CHILDREN ON THE INTERNET
20         Children are especially vulnerable to the risks businesses’ data collection practices pose.

21   Radesky Decl. ¶¶ 39, 45–72. Yet, despite their awareness that children use their services and the

22   existence of technological capabilities to provide a safer experience for children, businesses often

23   fail to take steps to provide that safer experience. Id. ¶¶ 30–44; Egelman ¶¶ 35–45.

24         A.    Children’s Internet Use
25         Children’s internet use has expanded rapidly in the last decade, with children using digital

26   technologies for an average of 0:49 hours per day for children under 2, 2:30 for 2–4 year olds,

27   3:05 for 5–8 year olds, 5:33 for 6–12 year olds, and 8:39 for 13–17 year olds. Radesky Decl. ¶¶

28   21–25. During the COVID-19 pandemic, children’s access to digital technology and time online
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 1   increased approximately 52%. Id. ¶¶ 26–28. Children use the internet for both educational and

 2   entertainment purposes. Id. ¶¶ 26–29. Unplugging is not a viable option. Id. ¶ 29.

 3         B.    Laws Regulating Children’s Online Experience
 4         Despite the ubiquitous presence of the internet in children’s lives, specific legal protections

 5   for children in the US are limited. At the federal level, the Children’s Online Privacy Protection

 6   Act (COPPA) requires that online businesses protect the personal information of children, but

 7   only where the platform is “directed towards” children under 13. 15 U.S.C. §§6501–6506.

 8   However, unless the website self-identifies as one that “target[s] children as its primary

 9   audience[,]” all a website must do is “prevent the disclosure of personal information from visitors
10   who identify themselves as under age 13” without parental consent. 16 C.F.R. §312.2. At the state
11   level, California has passed laws specifically designed to protect minors from particular products,
12   like alcohol, and affords minors special rights, like the ability to have their posts removed by
13   request. Cal. Bus. & Prof. §§22580, 22581. Although generally businesses may not sell or share
14   the personal information of a user if they have actual knowledge the user under 16, §1798.120(c),
15   there is no comprehensive law protecting the collection and use of children’s data.
16         AB 2273 is modeled on the United Kingdom’s Age Appropriate Design Code, commonly
17   referred to as the “Children’s Code.” This Code requires that all websites likely to be accessed by
18   children provide privacy protections by default. Keaney (ICO) Decl. ¶¶ 16–25, 32–34 & Ex. A.
19   As a result, businesses, including some that are represented in this lawsuit, have undertaken
20   positive changes that have resulted in a safer internet for children. Id. ¶¶ 65–67; Radesky ¶ 84.

21         C.    Businesses’ Interaction with Children Online
22         Existing privacy regulations have inadvertently created a culture of agnosticism about

23   whether and when children use services intended for adults. Radesky Decl. ¶¶ 30–39; Egelman

24   Decl. ¶¶ 44–45. Businesses are disincentivized from identifying their services as “child-directed”

25   because doing so limits the businesses’ ability to monetize their products by collecting and selling

26   user data and showing targeted advertisements. Radesky Decl. ¶ 39; Egelman Decl. ¶¶ 44–45. As

27   a result, it is fairly common for apps that were almost certainly intended for children, such as

28   those that appear in the Google Play “5 and under” app store, to avoid these restrictions by
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 1   claiming that they were intended for users over 13. Radesky Decl. ¶¶ 31, 36; Egelman Decl. ¶ 45.

 2   This leads not only to the over-collection of children’s data, but to using this data to lead children

 3   to inappropriate ads and other content. Radesky Decl. ¶¶ 31–39. It is only if and when unintended

 4   consequences are discovered that these problems are addressed at all. Id. ¶¶ 40–42. Essentially,

 5   despite federal regulation, businesses have, at best, taken a reactive, rather than proactive,

 6   approach towards protecting children’s data. Id.

 7         D.    Unique Vulnerabilities of Children Online
 8          Children have more curiosity, less impulse inhibition, less critical thinking and abstract

 9   reasoning about complicated concepts (like data collection), more responsivity to parasocial and
10   peer relationships, and more attraction to novelty and rewards than adults. Radesky Decl. ¶¶ 45–
11   47. These characteristics are developmentally adaptive and help children learn and build social
12   relationships in non-digital spaces, but can be taken advantage of through digital design. Id. ¶ 46.
13          Businesses design their services to optimize revenue generation by using tactics that
14   children are more susceptible to, like maximizing time spent using the product, bringing more
15   people to the product, and increasing interactions and content generation. Id. ¶¶ 48–71; Egelman
16   Decl. ¶¶ 12, 48. For example, multiple interview studies show that children and teens feel like
17   they spend too much time online, feel pressure to engage, and find it hard to stop using platforms.
18   Radesky Decl. ¶ 51. Manipulative dark patterns that work through parasocial relationship
19   pressure, fabricated time pressure, and navigation constraints commonly appear in apps and
20   platforms used by children. Id. ¶ 55; Egelman Decl. ¶ 51. One study showed that these features

21   occurred in 80% of apps and were more common in apps played by children from lower-income

22   and lower-education households. Radesky Decl. ¶ 55. Because design features promote content

23   creation and integrate metrics for popularity, children may take part in extreme content generation

24   (e.g., challenges) to receive validation online or engage in other harmful activity, such as

25   disordered eating, self-harm, or gambling, based on what they are seeing online. Id. ¶¶ 61–71.

26          These outcomes are features, not bugs, of current platform designs. Id. ¶¶ 64–67. And

27   children, because of their extensive time online and curiosity, and the “pester power” to spend

28   money, are not unintended victims; they are targets. Id. ¶¶ 39, 64–67.
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 1   III.   THE CALIFORNIA AGE-APPROPRIATE DESIGN CODE ACT

 2          AB 2273 was passed unanimously by the Legislature. Its findings document statewide,

 3   national, and international support for increasing children’s online privacy protections and safety.

 4   In the Act, the Legislature declares and finds that “children should be afforded protections not

 5   only by online products and services specifically directed at them but by all online products and

 6   services they are likely to access[,]” regulated businesses “should consider the best interest of

 7   children when designing, developing and providing” services, and “[i]f a conflict arises between

 8   commercial interests and best interests of children, companies should prioritize the privacy,

 9   safety, and well-being of children over commercial interests.” §1798.99.29.

10          A.    Regulated Businesses
11          The Act only applies to large companies that trade in personal information. Regulated

12   businesses are either (1) for-profit entities operating in California that collect consumers’ personal

13   information or has it collected on their behalf, determine the purposes and means of processing

14   that information, and have an annual gross revenue of more than $25,000,000; buy, sell, or share

15   the personal information of 100,000 or more consumers annually; or derive 50% or more of their

16   annual revenues from selling or sharing that information; (2) entities that control or are controlled

17   by and share common branding and consumers’ personal information with businesses described

18   above; or (3) certain joint ventures or partnerships. §1798.99.30(a); §1798.140(d).

19          Within that group of businesses, the Act regulates only those that provide an online service,

20   product, or feature (collectively “service”) likely to be accessed by children. §1798.99.31(a), (b).

21   “Likely to be accessed by children” means that the business’s offering: (1) is directed to children,

22   as defined by COPPA; (2) is determined, based on competent and reliable evidence regarding

23   audience composition, to be routinely accessed by a significant number of children, or is

24   substantially similar or the same as a service for which such a determination has been made; (3)

25   contains advertisements marketed to children; (4) has design elements that are known to be of

26   interest to children, including games, cartoons, music, and celebrities that appeal to children; or

27   (5) is determined, based on internal company research, to have children as a significant amount of

28   its audience. §1798.99.30(b)(4). Broadband internet access, telecommunications services,
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 1   delivery and use of a physical product, and certain medical information is excluded from

 2   regulation. Id. at (b)(5); §1798.99.40.

 3         B.    Requirements for Regulated Businesses
 4               1.     Proactive Steps to Protect Children’s Privacy
 5         For each service or similar group of services likely to be accessed by children, businesses

 6   must identify the service’s purpose, “how it uses children’s personal information, and the risks of

 7   material detriment to children that arise from” the business’s data management practice in a Data

 8   Protection Impact Assessment (“DPIA”). §1798.99.31(a)(1)(A)–(B); Id. at (c)(2). A DPIA

 9   completed for compliance with any other similar law, such as the UK Children’s Code, is deemed
10   compliant with the Act. Id. at (c)(1). A DPIA must address, to the extent applicable, whether the
11   design of the service could (i) harm children, including by exposing children to harmful or
12   potentially harmful content; (ii) lead to children experiencing or being targeted by harmful or
13   potentially harmful contacts; (iii) permit children to witness, participate in, or be subject to
14   harmful or potentially harmful conduct, or (iv) allow children to be party to or exploited by
15   harmful or potentially harmful contacts. Id. at (a)(1)(B). The DPIA must also address whether any
16   algorithms and targeted advertising systems used could harm children; whether and how the
17   service uses system design features to increase, sustain, or extend children’s use of the service,
18   including the automatic playing of media, rewards for time spent, and notifications; and whether,
19   how, and for what purpose the service collects and processes children’s sensitive personal
20   information. Id. Regulated businesses must document any risk of material detriment that arises

21   from their data management practices in the DPIA and create a timed plan to mitigate or

22   eliminate these risks before the service is accessed by children. Id. at (a)(2).

23         The DPIA is intended to be the business’s internal document. It is “protected as confidential

24   and shall be exempt from public disclosure.” Id. at (a)(4)(B). Regulated businesses must

25   biennially review all DPIAs, provide the Attorney General with a list of all DPIAs within three

26   days of receiving a written request to do so, and make any specific DPIA available to the

27   Attorney General within 5 days of a written request to do so. Id. at (a)(1)(A), (a)(3)–(4). DPIAs

28   retain any legal privilege even if disclosed to the Attorney General. Id. at (a)(4)(C).
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 1         In addition to DPIAs, regulated businesses must also: (1) estimate the age of a child user

 2   with a reasonable level of certainty appropriate to the risks that arise from the business’s data

 3   management practices, or apply the privacy and data protection afforded to children to all

 4   consumers; (2) configure all default privacy settings provided to children to offer a high level of

 5   privacy unless the business can demonstrate a compelling reason that a different setting is in the

 6   best interest of children; (3) provide any privacy information, terms of service, policies, and

 7   community standards concisely, prominently, and using clear language suited to the age of

 8   children likely to access the service; (4) if applicable, provide an obvious signal to the child while

 9   the child is being monitored or tracked by a guardian or other consumer; (5) enforce published
10   terms, policies, and community standards established by the business, including but not limited to
11   privacy policies and those concerning children; and (6) provide prominent, accessible and
12   responsive tools to help children or their guardians exercise their privacy rights and report
13   concerns. Id. at (a)(5)–(10).
14               2.     Prohibitions
15         Regulated businesses are prohibited from engaging in certain business practices that use
16   children’s personal information. First, regulated businesses cannot use any child’s personal
17   information in a way that the business knows or has reason to know is materially detrimental to
18   the physical health, mental health, or well-being of the child. §1798.99.31(b)(1). Second,
19   regulated businesses are prohibited from profiling a child by default except where the business
20   can demonstrate it has appropriate safeguards in place to protect children and profiling is either

21   necessary to provide the requested service and limited to the aspects of the service with which the

22   child is actively and knowingly engaged, or where the business can demonstrate a compelling

23   reason profiling is in the best interest of children. Id. at (b)(2). Third, regulated businesses cannot

24   collect, sell, share, or retain any personal information not necessary to provide a service with

25   which a child is actively or knowingly engaged absent a demonstrated compelling reason that the

26   practice is in the best interest of children likely to access the service. Id. at (b)(3). Businesses may

27   engage in these practices as needed to comply with existing laws. Id.; §1798.145. Fourth, if the

28   end user is a child, regulated businesses cannot use personal information for any reason other than
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 1   the reason for which it was collected absent a demonstrated compelling reason it is in the best

 2   interest of children. §1798.99.31(b)(4). Fifth, regulated businesses cannot collect, sell, or share

 3   any child’s precise geolocation information by default unless that is strictly necessary to provide

 4   the requested service and then only for the limited time necessary to provide the service and

 5   businesses cannot collect this information without providing an obvious sign to the child while

 6   the information is being collection. Id. at (b)(5)–(6). Seventh, regulated businesses cannot use

 7   dark patterns—interfaces designed or manipulated with the substantial effect of subverting or

 8   impairing user autonomy, decision-making, or choice—to lead or encourage children to provide

 9   personal information beyond what is reasonably expected to provide the service, to forgo privacy
10   protections, or to take any action that the business knows or has reason to know is materially
11   detrimental to the child’s physical health, mental health, or well-being. Id. at (b)(7); §1798.140(l).
12   And, any information businesses collect to estimate age may be used for that purpose only, and
13   may not be retained by businesses longer than needed to make the estimate. Age assurance shall
14   be proportionate to the risks and data practice of a service. §1798.99.31(b)(8).
15         C.    Enforcement & Guidance
16         Regulated businesses must comply with the above requirements, including completing
17   DPIAs, by July 1, 2024. §1798.99.31(d); §1798.99.33. Violators face injunctions and civil
18   penalties up to $2,500 per affected child for each negligent violation and up to $7,500 per
19   affected child for each intentional violation. §1798.99.35(a). Penalties are assessed and recovered
20   via a civil suit brought by the Attorney General. Id. Businesses in substantial compliance with the

21   DPIA requirements will receive written notice from the Attorney General of any alleged

22   violations before the Attorney General initiates a suit. Id. at (c)(1). A business will not be liable

23   for civil penalties for any violations cured within 90 days of the notice if it provides written notice

24   of curing and sufficient measures to prevent future violations. Id. at (c)(2).

25         The Act creates the California Children’s Data Protection Working Group, which will issue

26   a publicly available report containing best practices for implementation of the Act by January 1,

27   2024 (six months before the compliance date) and every two years thereafter. §1798.99.32.

28   Regulated businesses “may look to guidance and innovation in response to” the UK Children’s
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 1   Code when developing services likely to be accessed by children. AB 2273, §1(d). Additionally,

 2   the Attorney General may adopt regulations related to the Act. §1798.99.35(e).

 3   IV.     PLAINTIFF’S CHALLENGE TO AB 2273
 4           Plaintiff is NetChoice, a membership group composed of 35 large tech companies including

 5   Google, Meta, Amazon, Twitter, and TikTok. It filed this suit on December 14, 2022, alleging

 6   that the Act violated the First, Fourth, and Fourteenth Amendments, and the dormant Commerce

 7   Clause, and is preempted by federal law. It filed this Motion on February 17, 2023.

 8                                            LEGAL STANDARD
 9           “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter v.

10   Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); Dymo Indus., Inc. v. Tapeprinter, Inc., 326

11   F.2d 141, 143 (9th Cir. 1964) (per curiam). Plaintiff must prove that it is likely to succeed on the

12   merits of its claims, it is likely to suffer irreparable harm without preliminary relief, that the

13   balance of equities tips in its favor, and that an injunction is in the public interest. Winter¸ 555

14   U.S. at 20; Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).

15                                                 ARGUMENT
16   I.      PLAINTIFF IS NOT LIKELY TO SUCCEED ON THE MERITS
17           A.   AB 2273 Does Not Violate the First Amendment
18            Plaintiff’s members have no right to children’s personal information. Thus, AB 2273 does

19   not violate, or even implicate, Plaintiff’s members’ First Amendment rights. The Act imposes no

20   prior restraints because it does not regulate content, mandate government approval before

21   businesses can act, or restrict what content businesses make accessible to consumers. It is a

22   facially neutral business regulation and thus not subject to any heightened scrutiny. However,

23   even if the Act triggered heightened scrutiny, it could withstand such scrutiny because it serves

24   compelling interests in protecting children from intrusive, privacy-violating practices all too

25   common on the internet today. Far from being overbroad, the Act is carefully tailored to

26   addressing the most substantial threats to child online privacy.

27                1.     AB 2273 does not regulate speech or expressive conduct
28           Businesses have no First Amendment right to collect and use children’s personal
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 1   information and “[a] facial freedom of speech attack must fail unless, at minimum, the challenged

 2   statute is directed narrowly and specifically at expression or conduct commonly associated with

 3   expression.” Roulette v. City of Seattle, 97 F.3d 300, 305 (9th Cir. 1996) (unless otherwise noted,

 4   all internal quotation marks and citations have been omitted throughout). The collection and use

 5   of data under the Act is neither speech nor conduct with a significant expressive element. Further,

 6   often, children are not even willingly sharing this data. See Radesky Decl. ¶¶ 32–33. It can be

 7   collected from them, and all consumers, without their knowledge or consent. Egelman Decl. ¶¶

 8   30–31. This is not a case where two parties wish to share information and the State is standing in

 9   the way. See Sorrell v. IMS Health Inc., 564 U.S. 552, 654–65 (2011) (First Amendment protects
10   two private parties willingly sharing information).
11          The Act regulates business practices—those related to the collection and use of children’s
12   personal information—which are not typically considered conduct with a significant expressive
13   element. Int’l Franchise Ass’n v. City of Seattle, 803 F.3d 389, 408 (9th Cir. 2015). An entity
14   cannot claim a First Amendment violation simply because it is subject to government regulation.
15   Am. Soc’y of Journalists & Authors v. Bonta (“ASJA”), 15 F.4th 954, 961 (9th Cir. 2021).
16   “[R]estrictions on protected expression are distinct from restrictions on economic activity or,
17   more generally, on nonexpressive conduct. While the former is entitled to protection, the First
18   Amendment does not prevent restrictions directed at commerce or conduct from imposing
19   incidental burdens on speech.” HomeAway.com v. City of Santa Monica, 918 F.3d 676, 685 (9th
20   Cir. 2019) (no First Amendment scrutiny for ordinance regulating online booking transactions)

21   (quoting Sorrell, 564 U.S. at 567); see also Minneapolis Star & Tribune Co. v. Minn. Comm’r of

22   Revenue, 460 U.S. 575, 581 (1983) (newspapers can be subject to “generally applicable economic

23   regulations without causing constitutional problems”) “To determine whether the First

24   Amendment applies, we must first ask the threshold question [of] whether conduct with a

25   significant expressive element drew the legal remedy or the ordinance has the inevitable effect of

26   singling out those engaged in expressive activity.” Homeaway.com, 918 F.3d at 685 (quoting Int’l

27   Franchise, 803 F.3d at 408). “A court may consider the inevitable effect of a statute on its face, as

28   well as a statute’s stated purpose.” Id. (quoting Sorrell, 564 U.S. at 565).
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 1   Plaintiff argues that businesses use children’s personal information to make specialized

 2   recommendations to them, such as for books, movies, and videos to watch, and thus businesses’

 3   ability to collect and use children’s data implicates businesses’ First Amendment rights. Pl. Br. 3,

 4   15. This is simply incorrect. The Supreme Court explicitly “reject[s] the view that conduct can be

 5   labeled speech whenever the person engaging in the conduct intends to thereby express an idea.”

 6   Rumsfeld v. Forum for Acad. & Institutional Rts., Inc. (FAIR), 547 U.S. 47, 65–66 (2006) (citing

 7   cases). Further, businesses can continue to make recommendations to child users, even including

 8   recommendations for content the business knows or has reason to know will harm the child; they

 9   just may not use the child’s personal information to do so. See Nat’l Endowment for the Arts v.
10   Finley, 524 U.S. 569, 573 (1998) (rejecting claim where law does not “inherently interfere[] with
11   First Amendment rights”). Recommendations based on anything other than the child’s personal
12   information are unrestricted. See Denver Area Telecomm. Consortium, Inc., v. FCC, 518 U.S.
13   727, 746 (1996) (regulation to protect children permissible where cable operators could comply
14   through rearranging broadcast times); Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 647 (1994)
15   (rule that cable operators must carry broadcast channels permissible given operators controlled
16   every other channel in their package).
17          The Act’s stated purpose further supports that it “was not motivated by a desire to
18   suppress speech[.]” Int'l Franchise, 803 F.3d at 409. Rather, the “inevitable effect of the [Act] on
19   its face is to regulate nonexpressive conduct”—the collection and use of children’s personal
20   information. Homeaway.com, 918 F.3d at 685 (quoting Sorrell, 564 U.S. at 565). The Act is

21   generally applicable because limitations apply equally to all regulated businesses. Some

22   organizations, like non-profits and governmental entities, are excluded because they lack the

23   profit motive of the regulated businesses. “[S]uch distinctions do not typically implicate the First

24   Amendment[,]” and the existence of “different, or even broader, carve outs” does not “render[] [a

25   law] generally inapplicable.” ASJA, 15 F.4th at 964. Nor does the Act deprive businesses of

26   information or the ability to use it in a manner that discriminates between users. See Sorrell, 564

27   U.S. at 577 (invalidating prohibition on sharing information with only certain parties).

28               2.    None of the challenged provisions impose a prior restraint
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 1         “The relevant question” in determining whether a prior restraint exists “is whether the

 2   challenged regulation authorizes suppression of speech in advance of its expression[.]” Long

 3   Beach Area Peace Network v. City of Long Beach, 574 F.3d 1011, 1023 (9th Cir. 2009) (quoting

 4   Ward v. Rock Against Racism, 491 U.S. 781, 795 n.5 (1989)). The regulation must specifically

 5   target, rather than incidentally affect, expression protected by the First Amendment. Spirit of

 6   Aloha Temple v. Cnty. of Maui, 49 F.4th 1180, 1191 (9th Cir. 2022). “[C]ontent-neutral

 7   injunctions that do not bar all avenues of expression are not treated as prior restraints.” Greater

 8   L.A. Agency on Deafness, Inc. v. Cable News Network, Inc., 742 F.3d 414, 431 (9th Cir. 2014).

 9         DPIA Requirement: This provision requires businesses to internally assess, and prepare
10   confidential reports to the government about their data collection and use practices.
11   §1798.99.31(a)(1)–(4); see also ICO Decl. Exs. B1–B3 (UK DPIA samples). Such reporting
12   requirements are well-within the bounds of appropriate government regulation. See Hotel Emps.
13   & Rest. Emps. Int’l Union v. Nev. Gaming Comm’n, 984 F.2d 1507, 1518 (9th Cir. 1993); Village
14   of Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 637–38 n.12 (1980) (requirement to
15   “report certain information” on routine basis is permissible); see also, e.g. 12 U.S.C. §5365(i)(2)
16   (certain financial institutions must run annual or semiannual internal stress tests); 26 U.S.C.
17   §501(r)(3) (non-profit hospitals must conduct community health needs assessment every three
18   years and adopt implementation strategy to meet identified needs). The DPIA is not subject to
19   public disclosure and need not be approved—or even seen—by the Attorney General before a
20   business can begin offering a service. §1798.99.31(a)(3)–(4).

21         Contrary to what Plaintiff suggests, Pl. Br. 9–10, the Act does not authorize penalization

22   based on substance communicated in the DPIA. See Nev. Gaming, 984 F.2d at 1518 (no prior

23   restraint where “there is no attempt to control the content of any speech or the nature of any

24   organizational activity”); compare §1798.99.31(a)(3)–(4) to Bantam Books v. Sullivan, 372 U.S.

25   58, 68 (1963) (law “directly and designedly stopped the circulation of publications”). The AG’s

26   only role is to determine if a DPIA addresses all the required points. Compare §1798.99.31(a)(3)–

27   (4) to Se. Promotions, Ltd v. Conrad, 420 U.S. 546, 554 n.7 (1975) (“approval of an application

28   required some judgment as to the content and quality of the [theater] production”). It is only if the
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 1   business does not cure or makes no effort to complete the DPIA that the Attorney General can

 2   even attempt to seek penalties through a civil suit. Compare §1798.99.35(c) to Bantam Books,

 3   372 U.S. at 71 (procedures were “radically deficient”).

 4         Unlike the laws in the cases Plaintiff cites, the DPIA must address a “reasonably specific

 5   and objective” list of subjects; compliance determinations are not left “to the whim of the

 6   administrator.” Thomas v. Chi. Park Dist., 534 U.S. 316, 324 (2002); compare

 7   §1798.99.31(a)(1)(B) to Interstate Cir., Inc. v. City of Dallas, 390 U.S. 676, 689–90 (1968)

 8   (standards did not provide sufficient guidance), and Bantam Books, 372 U.S. at 71 (“statutory

 9   mandate is vague and uninformative”). That a business may decide to discontinue or never launch
10   a service rather than complete a DPIA does not effect a prior restraint. See IDK v. Clark County,
11   836 F.2d 1185, 1196–97 (9th Cir. 1988) (license requirement “does not operate as a prior restraint
12   on expression”).
13         Policy Enforcement Provision: The Policy Enforcement Provision, §1798.99.31(a)(9),
14   permissibly holds online businesses accountable for doing what they say they are going to do.
15   Barnes v. Yahoo, Inc., 570 F.3d 1096, 1109 (9th Cir. 2009) (promissory estoppel contract claim
16   not precluded by Section 230); Cal. Bus. & Prof. Code §22575 (online businesses must abide by
17   posted privacy policies). The government has no control over any content and businesses remain
18   free to create whatever policies they want. They need not commit to taking actions that they do
19   not intend take to or are morally opposed to. See Willams v. Gerber Prods., Co., 552 F.3d 934,
20   939 n.3 (9th Cir. 2008) (“It is not difficult [for businesses] to choose statements, designs, and

21   devices which will not deceive.”). The policies Plaintiff submitted demonstrate the flexibility

22   businesses give themselves in determining how to respond to violations of their policies; most

23   include explicit language reserving final decisions about content exclusively to the website or its

24   moderators. See e.g., Docs. 29-4, 29-6; 29-7, 29-24; 29-26, 29-27. The Act does not permit the

25   Attorney General to rewrite or ignore these terms. Contrary to what Plaintiff suggests, Pl. Br. 10–

26   11, if a business, consistent with its publicly posted policies, has decided to remove or allow

27   content, there is nothing the Attorney General can do.

28         Further, for a business to publish policies and not abide by them is deceptive and
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 1   misleading and thus renders the policy itself unprotected speech. Cent. Hudson Gas & Elec.

 2   Corp. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 563 (1980); Litton Indus. Inc. v. FTC, 676

 3   F.2d 364, 373 (9th Cir. 1982); Cal. Bus. & Prof. Code §17500 (prohibiting false or misleading

 4   advertising). Indeed, “[i]t is an open question whether the prior restraint doctrine even applies to

 5   commercial speech.” Hunt v. City of Los Angeles, 638 F.3d 703, 718 n.7 (2011) (citing cases).

 6   Even if it does, requiring businesses to comply with their own posted policies does not authorize

 7   the suppression of any protected speech or compel speech.

 8         Age Estimation & Data Protection Provision: Requiring businesses to protect children’s

 9   privacy and data implicates neither protected speech nor expressive conduct. This provision sets
10   forth the level of protections businesses must provide to children. §1798.99.31(a)(5). Businesses
11   that estimate the age of child users need only provide child users the data and privacy protections
12   appropriate to the risks that arise from the businesses’ data management practices. Id. Businesses
13   that do not estimate the age of child users must apply child-appropriate data and privacy
14   protections to all consumers. Id. The provision says nothing about content and does not require
15   businesses to block any content for users of any age.
16         Plaintiff’s challenge is based on mischaracterizations. Pl. Br. 12–13. The Act does not
17   require “age verification” or even age estimation; businesses can opt out of age estimation
18   entirely and instead provide the same data and privacy protections to everyone. Plaintiff contends
19   that either option will affect its member’s bottom line: they will either have to cover the costs of
20   age estimation or lose whatever revenue they obtain through providing lesser data and privacy

21   protection to all users. But the financial costs of complying with government regulation cannot

22   alone be the basis of a First Amendment claim. ASJA, 15 F.4th at 962.

23         Plaintiff’s inappropriate attempt to raise the third-party claims of children by arguing that

24   age estimation will force children to either comply with invasive age-verification requirements or

25   be deprived access to regulated businesses presents a false choice. See Marquez-Reyes v.

26   Garland, 36 F.4th 1195, 1201 (9th Cir. 2022) (explaining limitations on raising third-party rights)

27   (quoting L.A. Police Dep’t v. United Reporting Publ’g Corp., 528 U.S. 32, 38 (1999)). Further, if

28   businesses choose to engage in age estimation, nothing in the Act requires use of the most
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 1   invasive age-estimation tools imaginable. To the contrary, businesses are instructed to use

 2   “minimally invasive” tools, §1798.99.32(d)(3), and the estimation only need be appropriate to the

 3   level of risk that their data management practices present, §1798.99.31(a)(5). Defendant has

 4   provided multiple examples of such tools, Egelman Decl. ¶¶ 53–54; Radesky Decl. ¶ 96; ICO

 5   Decl. ¶¶ 37–39, some of which are already being tested by NetChoice members, ICO Decl. ¶ 65,

 6   and best practices for implementation will be available six months before businesses are required

 7   to comply, §1798.99.32(e). See Lone Star Sec. & Video, Inc. v. City of Los Angeles, 827 F.3d

 8   1192, 1199 (9th Cir. 2016) (in a facial challenge courts must consider government’s

 9   “authoritative constructions, including . . . implementation and interpretation”).
10         Even if Plaintiff could raise claims based on children’s right to access information,
11   restricting businesses’ use of children’s data does not require barring children’s access to any
12   content. Unlike the broad content-based laws in cases Plaintiff cites, Pl. Br. 13, the Act does not
13   penalize providing any particular content. Compare e.g. §1798.99.31(b)(1) to Butler v. Michigan,
14   352 U.S. 380, 382–83 (1957) (law criminalized making certain books available to the public).
15   Children can have, and businesses can provide, access to any information the child seeks. See
16   Greater L.A., 742 F.3d at 431 (“[C]ontent-neutral injunctions that do not bar all avenues of
17   expression are not treated as prior restraints.”). Rather, the Act prevents businesses from
18   attempting to increase their profits by using children’s data to deliver them things they do not
19   want and have not asked for, such as ads for weight loss supplements and content promoting
20   violence and self-harm. Radesky Decl. ¶¶ 48, 62–68. Further, Plaintiff misplaces its reliance on

21   cases challenging content-based criminal statutes, like laws prohibiting child sexual exploitation,

22   where age verification of the minor involved could serve as either an affirmative defense to or

23   lack thereof as an element of the crime. See Pl. Br. 13–14 (citing cases). Age estimation plays a

24   completely different role here. And, the Act protects children’s anonymity by prohibiting

25   information used for age estimation from being used for any other purpose. §1798.99.31(b)(8).

26               3.    AB 2273 is facially neutral

27         Even if AB 2273 does implicate First Amendment concerns, it is not subject to heightened

28   scrutiny because it is content, viewpoint, and speaker neutral. “[A] regulation that serves purposes
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 1   unrelated to the content of expression is deemed neutral, even if it has an incidental effect on

 2   some . . . messages but not others.” Doe v. Harris, 772 F.3d 563, 575 (9th Cir. 2014) (quoting

 3   Ward, 491 U.S. at 791). Such a law is content neutral if it is “justified without reference to the

 4   content of the regulated speech.” Id. at 574. On the other hand, a regulation is “facially content

 5   based” if it “targets speech based on its communicative content,” “prohibit[s] public discussion of

 6   an entire topic, or single[s] out specific subject matter for differential treatment.” Twitter Inc. v.

 7   Garland, 61 F.4th 686, 697 (9th Cir. 2023) (citing cases).

 8         To determine whether the Act’s “overriding objective” is content-neutral, the court reviews

 9   “the Act and its various findings[.]” Turner, 512 U.S. at 646. In Turner, cable operators
10   challenged a federal rule requiring them to carry broadcast channels as part of their cable
11   packages. Id. at 631–32. In concluding that the “overriding Congressional purpose is unrelated to
12   the content of [operator’s] expression[,]” the Court cited Congress’s findings that the rule’s
13   purpose was to preserve access to free television programming—a “substantial and important”
14   government interest—which would be endangered if cable operators refused to carry broadcast
15   stations for economic reasons. Id. at 646–47. Though cable operators lost some discretion, “the
16   design and operation” of the rule did not have any of the markers of content-based regulation,
17   such as requiring or prohibiting particular ideas or points of view, penalizing operators because of
18   the content of their programming, compelling operators to affirm points of view with which they
19   disagree, or producing a net decrease in the amount of available speech. Id. at 647. In short,
20   because operators were free to carry whatever programming they wished on all stations not

21   subject to the must-carry rule, the rule was deemed content neutral. Id. at 646–47.

22         The same logic applies here. The Legislature clearly explained the Act’s purpose: to

23   “prioritize the privacy, safety, and well-being of children over commercial interests.”

24   §1798.99.29(b). Currently, businesses have an economic incentive to collect, use, buy, and sell

25   children’s data. Egelman Decl. ¶¶ 11–13; Radesky Decl. ¶¶ 33, 39, 64, 78, 101. It is these profit-

26   driven business practices, not any particular message, that AB 2273 restricts. The Act does not

27   carry any markers of content-based regulation. As long as businesses do not use children’s data,

28   they can continue to offer, provide access to, and recommend any content they want.
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 1         Plaintiff’s assertion that the Act is “inherently content-based” because it prioritizes the

 2   health and safety of minors, Pl. Br. 19, does not make it so. That some limitations on the use of

 3   children’s personal information require businesses to consider knowledge they have about how

 4   their actions affect children does not make the Act content-based. Those limitations are consistent

 5   with the Act’s content-neutral purpose: to prioritize children’s safety and well-being over profit.

 6   Plaintiff’s “ability to hypothesize a content-based purpose” that “rests on little more than

 7   speculation” “does not cast doubt upon the [Act’s] content-neutral character.” Turner, 512 U.S. at

 8   652. Nor should Plaintiff’s highly speculative claims that the DPIA and Policy Enforcement

 9   provisions are content-based or compel speech cast any doubt. As described above, Arg. I.A.2,
10   these provisions are common forms of acceptable government regulation. The Act does not affect
11   businesses’ speech, require “inherently expressive” conduct, or otherwise “sufficiently interfere
12   with any message” of businesses. See FAIR, 547 U.S. at 64–65. Any impact on speech is merely
13   incidental to the Act’s regulation of conduct. Id. at 62.
14         Here, the court must ask whether the conduct the law restricts—using children’s personal
15   information—is expressive or communicative. Recycle for Change v. City of Oakland, 856 F.3d
16   666, 672 (9th Cir. 2017). It is not. And because it is not, creating exceptions to general bans on
17   such use (like allowing it where it is in the best interest of the child), even ones that refer to
18   content, do not present a constitutional problem. See Jacobs v. Clark County Sch. Dist., 526 F.3d
19   419, 433 (9th Cir. 2008) (exception to uniform policy did not render policy content-based); Perry
20   v. L.A. Police Dept., 121 F.3d 1365, 1369 (9th Cir. 1997) (neutral ban with exception that refers

21   to content is content neutral). Even if the law incidentally burdens businesses’ speech, the Act is

22   content neutral because, for all the reasons already explained, it is “justified without reference to

23   the content of the [allegedly] regulated speech.” Harris, 772 F.3d at 575.

24         For all of the reasons above, the Act is content neutral. For the same reasons that AB 2273

25   is generally applicable, it is not speaker-based. Plaintiff does not allege that it is viewpoint-based.

26   Thus, the Act is not subject to heightened scrutiny.

27               4.     AB 2273 withstands any level of First Amendment scrutiny
28                                               a. At most, intermediate scrutiny applies
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 1          If the Court determines the Act restricts speech and higher scrutiny is warranted, it should

 2   apply, at most, intermediate scrutiny.

 3         “[T]he Supreme Court has repeatedly held that a law restricting speech on a viewpoint and

 4   content neutral basis is constitutional as long as it withstands intermediate scrutiny[.]” Jacobs,

 5   526 F.3d at 434 (citing Turner, 512 U.S. at 661–62). The same is true of laws that have incidental

 6   effects on expressive conduct. Id. (citing U.S. v. O’Brien, 391 U.S. 367, 376–77 (1968)). And

 7   here, any speech the Act may implicate is commercial speech, which is also subject to

 8   intermediate scrutiny. Cent. Hudson, 447 U.S. at 566. For example, businesses’ publicly posted

 9   policies are supposed to aid consumers in deciding whether to engage with their products.
10   Egelman Decl. ¶ 24; Radesky Decl. ¶ 72. When consumers do engage with those products, the
11   business gains revenue. Egelman Decl. ¶¶ 11–13; Radesky Decl. ¶¶ 49, 55, 100. Indeed,
12   Plaintiff’s declarants’ objections and their alleged injury are based on the impact the Act will
13   have on their revenue. Pl. Br. 12–13, 30. Thus, there can be no doubt that regulated businesses
14   have “an economic motive for engaging in the [alleged] speech” with regard to the specific
15   products—services likely to be accessed by children—that the Act regulates. Am. Acad. of Pain
16   Mgmt. v. Joseph, 353 F.3d 1099, 1106 (9th Cir. 2004) (listing conditions for commercial speech)
17   (citing Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 66–67 (1983)).
18         AB 2273 easily survives intermediate scrutiny. As described further below, Plaintiff’s
19   members’ business practices pose “real” risks to children, and the Act “in fact alleviates th[ose
20   risks] to a material degree” by reducing the use of those business practices. Edenfield v. Fane,

21   507 U.S. 761, 770–71 (1993); see also Coyote Publ’g v. Miller, 598 F.3d 592, 611 (9th Cir. 2010)

22   (“a reasonable fit between ends and means” meets intermediate scrutiny).

23                                              b. AB 2273 withstands strict scrutiny
24         A content-based speech regulation must survive strict scrutiny and, if it is the type of

25   restriction for which procedural safeguards are required, it must provide those safeguards. In re

26   Nat'l Sec. Letter, 33 F.4th 1058, 1071 (9th Cir. 2022). “Under strict scrutiny, restrictions may be

27   justified only if the government proves that they are narrowly tailored to serve compelling state

28   interests.” Id. at 1070. AB 2273 is not content based, but can withstand this scrutiny.
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 1         “It is evident beyond the need for elaboration that a State’s interest in safeguarding the

 2   physical and psychological well-being of a minor is compelling.” Ferris v. Santa Clara County,

 3   891 F.2d 715, 717 (9th Cir. 1989) (quoting Globe Newspaper Co. v. Superior Court, 457 U.S.

 4   596, 607 (1982)). Accordingly, courts “have sustained legislation aimed at protecting the physical

 5   and emotional well-being of youth even when the laws have operated in the sensitive area of

 6   constitutionally protected rights.” Id.; accord Sable Commc’ns of Cal., Inc. v. F.C.C., 492 U.S.

 7   115, 126 (1989). Indeed, “the Supreme Court[] [has] repeated[ly] recogni[zed] that children

 8   deserve special solicitude in the First Amendment balance because they lack the ability to access

 9   and analyze fully the information presented through commercial media.” Anheuser-Busch, Inc. v.
10   Schmoke, 101 F.3d 325, 329–30 (4th Cir. 1996) (collecting cases).
11          Under strict scrutiny, speech restrictions can be justified by “history, consensus, and simple
12   common sense[.]” Fla. Bar v. Went For It, Inc., 515 U.S. 618, 628 (1995). Where, as here, the
13   interest is “intuitive[,]” Williams-Yulee v. Fla. Bar, 575 U.S. 433, 445 (2015), or evident from “an
14   impressive historical pedigree” of “public disapproval” of the prohibited conduct, Coyote Publ’g,
15   598 F.3d at 604, little, if any, evidence is required. That children face significant barriers to
16   protecting their personal information online and face serious harms as a result is part of the
17   legislative findings and affirmed by Defendant’s experts’ testimony. See AB 2273, §1; Radesky
18   Decl. ¶¶ 21–72; Egelman Decl. ¶¶ 11–30, 49–51. Here, “an actual problem has been proved[.]”
19   U.S. v. Playboy Ent. Grp., Inc., 529 U.S. 803, 822 (2000).
20         And the Act is narrowly tailored. Even if the Act did restrict content, it is well established

21   that the government can regulate mediums that—like the internet—are “accessible to children[,]”

22   are “likely” to have children as an audience, and that “have established a uniquely pervasive

23   presence in the lives of all Americans[.]” Denver Area, 518 U.S. at 744–45. Under these

24   circumstances, a “permissive” approach that may restrict content, but does not ban it all together,

25   are “appropriate as a means of achieving the underlying purpose of protecting children.” Id. at

26   746. The Act regulates only those businesses that trade in personal information and are likely to

27   be accessed by children. It requires or prohibits specific actions that directly involve the

28   collection and use of children’s personal information. The Act need not advance its interest “in
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 1   the least restrictive and least intrusive way[,]” G.K. Ltd. Travel v. City of Lake Oswego, 436 F.3d

 2   1064, 1073–74 (9th Cir. 2006), and, here, the State’s interest would undoubtedly be “achieved

 3   less effectively absent” the Act. Colacurcio v. City of Kent, 163 F.3d 545, 553 (9th Cir. 1998).

 4         “[P]erfect tailoring” is not required and courts should avoid “wad[ing] into the swamp of

 5   calibrating the individual mechanisms of a restriction” when applying strict scrutiny. In re Three

 6   Nat’l Security Letters, 35 F.4th 1181, 1186 (9th Cir. 2022). In any case, Plaintiff’s proposed

 7   alternatives are in no way “as effective in achieving the legitimate purpose” of this Act. Id.

 8   Plaintiff’s parental-oversight alternative is a thinly veiled attempt to escape all regulation. Unlike

 9   in cases Plaintiff cites, Pl. Br. 21–22, parents cannot simply block children from accessing any
10   online business that collects or uses their children’s personal information, Egelman Decl. ¶ 24–
11   31, 34 (user-based attempts to protect privacy are “futile”); Radesky Decl. ¶ 95 (“maintaining
12   digital privacy is a near impossible task” for parents). See Playboy, 529 U.S. at 816 (requiring
13   less restrictive alternative be “plausible”). Even if they could, such action would not be consistent
14   with the Act’s goals: to allow children to use the internet safely, not prevent them from using it
15   all. Indeed, “[i]t is the interest of youth itself, and of the whole community, that children be both
16   safeguarded from abuses and given opportunities for growth[.]” Prince v. Massachusetts, 321
17   U.S. 158, 165 (1944). Further, “[w]hile the supervision of children” on the internet “may best be
18   left to their parents, the knowledge that parental control or guidance cannot always be provided
19   and society’s transcendent interest in protecting the welfare of children justify reasonable
20   regulation[.]” Ginsberg v. New York, 390 U.S. 629, 640 (1968). In any case, relying on parental

21   involvement alone would leave vast swaths of children completely unprotected, thus undermining

22   “the State’s independent interest in the well-being of its youth[.]” Reno v. ACLU, 521 U.S. 844,

23   865 (1997); accord e.g., Ginsberg, 390 U.S. at 640–41. Plaintiff’s suggestion that COPPA

24   accomplishes the Act’s purpose fares no better. COPPA does not protect all children under 18 nor

25   apply to all businesses likely to be accessed by children.

26         Finally, the Act is not required to have the procedural safeguards necessary for “traditional

27   censorship regimes,” Twitter, 61 F.4th at 707, because those “are not required in the context of

28   government restrictions on the disclosure of information transmitted confidentially as part of a
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 1   legitimate government process,” id., and may not apply where the challenged law “neither

 2   requires a speaker to submit proposed speech for review and approval” nor “require[s] a speaker

 3   to obtain a license before engaging in business[,]” Nat’l Sec. Letter, 33 F.4th at 1077. The Act

 4   includes significant procedural safeguards, a cure period and court review, that are “sensitive to

 5   the need to prevent First Amendment harms.” Twitter, 61 F.4th at 705.

 6                  5.   AB 2273 is not overbroad
 7         “Invalidation for overbreadth is strong medicine that is not to be casually employed.” U.S.

 8   v. Williams, 553 U.S. 285, 292 (2008). Plaintiff “bears the burden of demonstrating, from the text

 9   of [the law] and from actual fact, that substantial overbreadth exists.” Gospel Missions of Am. v.
10   City of Los Angeles, 419 F.3d 1042, 1050 (9th Cir. 2005) (citing Virginia v. Hicks, 539 U.S. 113,
11   122 (2003)); see also Marquez-Reyes, 36 F.4th at 1202 (“it is impossible to determine whether a
12   statute reaches too far without first knowing what the statute covers.”). That the Act regulates
13   conduct, not speech, makes the bar even higher as “the overbreadth doctrine’s concern with
14   chilling protected speech attenuates as the otherwise unprotected behavior that it forbids the state
15   to sanction moves from pure speech towards conduct.” Hicks, 539 U.S. at 124. “[W]here conduct
16   and not merely speech is involved. . . the overbreadth of a statute must not only be real, but
17   substantial as well, judged in relation to the statutes plainly legitimate speech.” Gospel Mission,
18   419 F.3d at 1050 (citing Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973)). Here, it is neither.
19         Plaintiff has failed to show why any of the conduct required or prohibited by the Act
20   “cannot constitutionally be subject to some regulation.” Gospel Mission, 419 F.3d at 1050.

21   Plaintiff relies on speculative arguments about children’s inability to access content, but, as

22   discussed above, nothing in the Act bars children from seeking, or businesses from providing

23   access to, any content. “The mere fact that one can conceive of some impermissible applications

24   of a statute is not sufficient to render it susceptible to an overbreadth challenge.” Williams, 553

25   U.S. at 303.

26         Plaintiff has not shown that the Act violates the First Amendment in any—let alone a

27   “substantial” number of—potential applications. Gospel Mission, 419 F.3d at 1050. Even if the

28   Act might reach some protected speech through its regulation of the use of children’s personal
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 1   information, “it is not substantially overbroad relative to its legitimate sweep.” Id. “Whether a

 2   statute’s chilling effect on legitimate speech is substantial should be judged in relation to what the

 3   statute clearly proscribes.” Cal. Teachers Ass’n v. State Bd. of Educ., 271 F.3d 1141, 1151 (9th

 4   Cir. 2001). For the same reasons the Act is narrowly tailored, it is not overbroad. The Act

 5   prohibits certain businesses from using children’s personal information for specified reasons, “the

 6   vast majority” of applications “raises no constitutional problems whatever.” Williams, 553 U.S. at

 7   303. Further, “the overbreadth doctrine does not apply to commercial speech.” Village of

 8   Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 496–97 (1982). Even if

 9   Plaintiff identifies one particular set of circumstances where the First Amendment might protect
10   businesses’ use of children’s personal information, that would justify an as-applied challenge, not
11   pre-enforcement facial invalidation. Marquez-Reyes, 36 F.4th at 1207.
12         B.     AB 2273 Is Not Unconstitutionally Vague
13         The Act is not void for vagueness. A law is not vague where it “give[s] adequate notice of
14   what conduct is prohibited and sufficient guidelines to prevent arbitrary and discriminatory
15   enforcement.” IDK, 836 F.2d at 1197–98. Because the “absence of a significant First Amendment
16   interest is . . . fatal to a facial challenge of a business regulation” unless “[it] is vague in all
17   possible applications[,]” id. at 1198, and laws should not be facially invalidated based on the
18   possibility of potential edge cases, Cal. Teachers, 271 F.3d at 1155, Plaintiff’s challenge must
19   fail. Although laws that “clearly implicate free speech rights” will “survive a facial challenge so
20   long as it is clear what the statute proscribes in the vast majority of its intended applications[,]”

21   Humanitarian Law Project v. U.S. Treasury Dep’t (“HLP”), 578 F.3d 1133, 1146–47 (9th Cir.

22   2009), that Plaintiff can hypothesize a way the law might be applied to speech does not mean that

23   the law is subject to a higher standard, Williams, 553 U.S. at 305–06. HLP, 578 F.3d at 1146–47

24   (applying all-applications test despite First Amendment claims); see also Flipside, 455 U.S. at

25   495 (same). In any case, “perfect clarity and precise guidance have never been required even of

26   regulations that restrict expressive activity.” Williams, 553 U.S. at 307. “The touchstone of a

27   facial vagueness challenge in the First Amendment context, . . ., is not whether some amount of

28   legitimate speech will be chilled; it is whether a substantial amount of legitimate speech will be
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 1   chilled.” Cal. Teachers, 271 F.3d at 1152. The Act meets that standard.

 2         It is well-established that modifiers such as “materially detrimental[,]” “a significant

 3   number[,]” or “substantial effect” do not render a statute facially vague. See Cal. Teachers, 271

 4   F.3d 1152–53 (“overwhelmingly” and “nearly all” are not vague) (citing cases). “Although the[se

 5   terms] are not readily translated into a mathematical percentage, the First Amendment does not

 6   require them to be.” Id. at 1152. Likewise, the “best interest of the child” standard appears in over

 7   one hundred California statutes and dozens of federal statutes. It is not suddenly rendered vague

 8   here. Nor is “likely to be accessed by children[,]” which is defined by statute, §1798.140(b)(4).

 9   See IDK, 836 F.2d at 1198 (“terms are narrowly defined in the regulation” so are not vague).
10   Finally, “dark patterns” is a term defined by statute, §1798.140(l), is already regulated by
11   California law, and is commonly used in the tech field. Egelman Decl. ¶ 51; Radesky Decl ¶¶ 53–
12   56, 97. These are “words of common understanding, to which no [regulated party] is a
13   stranger[,]” and thus are not unconstitutionally vague. Cal. Teachers, 271 F.3d at 1151–52.
14         Moreover, the dark patterns provision and several other challenged terms are modified by
15   scienter requirements. See e.g., §1798.99.31(b)(1), (7). The Act’s terms must be “read in context
16   with the entire provision[,]” Hunt, 638 F.3d at 714, and “[t]he Court has recognized that a scienter
17   requirement may mitigate a law’s vagueness, especially with respect to the adequacy of notice to
18   the complainant that [the] conduct is proscribed.” Cal. Teachers, 271 F.3d at 1154 (citing cases).
19   For this reason, Plaintiff’s stated fear that businesses will be unfairly penalized for an unknowing
20   violation of the Act is a red herring. For example, regardless of the child user’s age, if the

21   business did not know or did not have reason to know that its use of children’s data would harm

22   children, then the business is not liable. §1798.99.31(b)(1).

23         As explained above, businesses are not required to estimate children’s ages. They can

24   instead apply the same privacy and data protections to all users. And the concept of regulating

25   based on a consumer’s age is not novel. State, federal, and international law already provide data

26   privacy protections based on age. Similarly, Plaintiff’s argument that they do not understand what

27   makes certain practices “risky” is undermined by their own statements and common sense. As

28   Plaintiff’s declarants’ statements show, some businesses’ policies are more privacy protective
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 1   than others and some businesses’ data collection practices are more expansive than others.

 2   Compare Cairella Decl. ¶ 20 with Paolucci Decl. ¶ 3 and Masnick Decl ¶ 10. It is common sense

 3   that less protective privacy policies and expansive collection of personal information are more

 4   risky, and more protective privacy policies and minimized data collection are less risky. See Cal.

 5   Teachers, 271 F.3d at 1151 n.8 (considering purpose of statute and common sense); Holder v.

 6   Humanitarian Law Project, 561 U.S. 1, 32 n.6 (considering common sense and evidence).

 7         Finally, “[f]acial invalidation is, manifestly, strong medicine that has been employed by the

 8   Court sparingly and only as a last resort[,]” Cal. Teachers, 271 F.3d at 1155, and several other

 9   factors here weigh against it. Most of Plaintiff’s members already are or should be in compliance
10   with the provisions challenged here because they are substantially similar to UK law. ICO Decl.
11   ¶¶ 18–23, 65. Guidance from the UK is readily available. Id. ¶¶ 35–52. Guidance in the form of
12   best practices and recommendations is forthcoming. §1798.99.32(d). Even after enforcement
13   begins, the Act provides for notice and a cure period, and no penalties can be assessed unless and
14   until a state court finds that a business violated the Act. §1798.99.35. Given the Act’s clear terms
15   and significant protections, Plaintiff’s facial vagueness challenge must fail.
16         C.    AB 2273 Does Not Violate the Dormant Commerce Clause
17         The Commerce Clause grants Congress the power to regulate commerce among the several
18   States. U.S. Const. art. I, § 8, cl. 3. It has long been interpreted to include “an implicit restraint on
19   state authority[.]” United Haulers Ass’n v. Oneida-Herkimer Solid Waste Mgmt. Auth., 550 U.S.
20   330, 338 (2007). This “dormant” Commerce Clause “prohibits economic protectionism—that is,

21   regulatory measures designed to benefit in-state economic interests by burdening out-of-state

22   competitors.” New Energy Co. of Ind. v. Limbach, 486 U.S. 269, 273 (1988). Here, rather than

23   claiming a discriminatory purpose, Plaintiff alleges only that AB 2273 regulates extraterritorially

24   and that the law’s burden on interstate commerce outweighs its benefits.

25               1.     AB 2273 does not regulate extraterritorially
26         The dormant Commerce Clause’s prohibition against extraterritorial legislation is narrow.

27   See, e.g., Pharm. Rsch. & Mfrs. of Am. v. Walsh, 538 U.S. 644, 669 (2003) (rejecting

28   extraterritoriality challenge where law regulating in-state sales allegedly affected out-of-state
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 1   transactions). Plaintiff alleges that AB 2273 “applies to all operations of a provider that does

 2   business in California,” including out-of-state operations. Pl. Br. 23 (citing cases). Not so. The

 3   Act does not control a provider’s out-of-state operations. It regulates only a “business” that does

 4   business in California, §1798.99.30(a), §1798.140(d), that provides an online service “likely to be

 5   accessed by children,” §1798.99.31(a), who are residents of California §1798.99.30(b)(1),

 6   §1798.99.30(a), (j), §1798.140(i). AB 2273 is thus distinguishable from the California statute

 7   challenged in Publius v. Boyer-Vine, 237 F. Supp. 3d 997 (E.D. Cal. 2017), that “d[id] not limit

 8   its application to California,” and as a result, had the effect of controlling conduct occurring

 9   “anywhere in the country.” Id. at 1025.
10         In addition—and contrary to Plaintiff’s outdated view of internet technology—“internet
11   content providers can identify the geographic location of their users and target content based on
12   the location of the users.” Nat’l Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 961
13   (N.D. Cal. 2006). Modern geolocation technology allows a business to tailor its website to
14   comply with AB 2273’s requirements—and indeed, has been widely-used by businesses to
15   comply with other California laws for users in California. Egelman Decl. ¶¶ 55–62.
16         Accordingly, the Ninth Circuit rejected a similar dormant Commerce Clause challenge. In
17   Greater Los Angeles, 742 F.3d 414, the Court held that a California law requiring closed
18   captioning on websites did not regulate extraterritorially because the law “applie[d] only to [the
19   business’s] videos as they [we]re accessed by California viewers, [and] d[id] not have the
20   practical effect of directly regulating conduct wholly outside of California.” Id. at 433. Because

21   that law required CNN to modify its website only for California visitors, “leav[ing] the remainder

22   [of its website] unchanged,” CNN could “avoid the potential for extraterritorial application” of

23   the law. Id. (citing Nat’l Fed’n of the Blind, 452 F. Supp. 2d at 961 (rejecting Target’s

24   extraterritoriality claim because it could make a version of its website for California users)). This

25   holding applies with equal force here. Plaintiff’s extraterritoriality claim should be rejected.

26               2.    AB 2273 satisfies Pike balancing
27         Under the Pike balancing test, laws that “regulate[] even-handedly to effectuate a legitimate

28   local public interest” will be upheld unless the plaintiff establishes a cognizable burden on
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 1   interstate commerce that “is clearly excessive in relation to the putative local benefits.” Pike v.

 2   Bruce Church, Inc., 397 U.S. 137, 142 (1970). Plaintiff alleges that AB 2273 “poses a substantial

 3   obstacle to interstate commerce” because it regulates subjects that purportedly require a uniform

 4   system of regulation. Pl. Br. 24. The Ninth Circuit rejected that theory in Greater Los Angeles,

 5   observing that CNN “already serves different versions of its home page depending on the visitor’s

 6   country,” and it “provide[d] no explanation for why it could not do the same for California

 7   residents.” 742 F.3d at 733. Thus, the supposed “conflicts,” Pl. Br. 24–25, between AB 2273 and

 8   other states’ laws do not pose a cognizable burden; any provider’s choice to “self-censor content

 9   in all fifty states[,]” id. 25, to avoid regulation is not an inevitable consequence of AB 2273.
10   Indeed, if this argument were accepted, few, if any, of the dozens of state laws Plaintiffs identify
11   would survive scrutiny under Pike.
12         Plaintiff also disregards AB 2273’s substantial local benefits. As described above, Arg.
13   I.A.4.b, it is undisputed that “safeguarding physical and psychological well-being of a minor is
14   compelling.” Ferber, 458 U.S. at 756–57; see also Radesky Decl. ¶¶ 45–85.
15          None of the burdens Plaintiff alleges clearly exceed these established benefits.
16         D.    AB 2273 Is Not Preempted by Federal Law
17         The Supremacy Clause “specifies that federal law is supreme in case of a conflict with state
18   law.” Murphy v. NCAA, 138 S. Ct. 1461, 1479 (2018). There are “three different types of
19   preemption—conflict, express, and field—but all of them work in the same way: Congress enacts
20   a law that imposes restrictions or confers rights on private actors; a state law confers rights or

21   imposes restrictions that conflict with the federal law; and therefore . . . the state law is

22   preempted.” Id. at 1480. Here, Plaintiffs rely on express and conflict preemption theories.

23   “Although express and conflict preemption are analytically distinct inquiries, they effectively

24   collapse into one when”—as here—“the preemption clause uses the term inconsistent.” Jones v.

25   Google LLC, 56 F.4th 735, 741 (9th Cir. 2022).

26               1. COPPA

27         COPPA sets minimum requirements for businesses that offer online services directed

28   toward children under 13, including requirements to obtain parental consent before collecting,
                                                   27
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 1   using, or disclosing children’s personal information; provide notice of their privacy policies; and

 2   give parents the ability to review and change their children’s personal information collected by

 3   the operator. 15 U.S.C. §§6501–6506, 16 C.F.R. §§312.1–312.13. Plaintiff contends that because

 4   AB 2273 provides protections that are more expansive than COPPA’s, AB 2273 replaces the

 5   parental control conferred by COPPA with “a host of new and different state-imposed obligations

 6   on services.” Pl. Br. 26.

 7         This theory fails. AB 2273 does not—and cannot—replace any of COPPA’s requirements,

 8   which would be in effect regardless of whether the California Legislature had enacted AB 2273.

 9   And, COPPA’s preemption clause only prohibits states from imposing liability that is
10   “inconsistent with the treatment of those activities or actions under this section.” 15 U.S.C.
11   §6502(d). “[I]nconsistent” “refers to contradictory state law requirements, or to requirements that
12   stand as obstacles to federal objectives.” Jones, 56 F.4th at 740. “[S]tate laws that supplement, or
13   require the same thing, as federal law, do not stand[ ] as an obstacle, to Congress’s objectives, and
14   so are not inconsistent.” Id. at 740–41. COPPA sets minimum requirements for obtaining parental
15   consent for collection, use, or disclosure of personal information from children under 13, and AB
16   2273 supplements this by placing additional restrictions on the collection and use of children’s
17   personal information. See, e.g., §1798.99.31(b)(1). These criteria can apply simultaneously. As
18   confirmed by the Ninth Circuit, COPPA leaves room for states to enact laws that regulate in a
19   manner that is consistent with COPPA. Jones, 56 F.4th at 741–42. Because AB 2273
20   compliments, instead of contradicts COPPA, AB 2273 does not fall within the COPPA

21   preemption clause.

22         Plaintiff also argues that AB 2273 is preempted by COPPA because AB 2273 regulates

23   platforms likely to be accessed by children under 18, whereas COPPA regulates platforms

24   directed to children under 13, Pl. Br. 27. This argument assumes that COPPA’s regulation of

25   platforms directed to a subset of children invalidates state regulation of platforms directed to a

26   broader set of children, and appears to be based on a field preemption theory. To win on field

27   preemption claim, Plaintiff must show that “a framework of regulation [is] so pervasive . . . that

28   Congress left no room for the States to supplement it or [] there is a federal interest . . . so
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 1   dominant that the federal system will be assumed to preclude enforcement of state laws on the

 2   same subject.” Arizona v. United States, 567 U.S. 387, 399 (2012). Plaintiff has cited no case law

 3   establishing that COPPA occupies the field in this manner. To the extent AB 2273 regulates more

 4   platforms or an additional subset of children, it merely supplements—and is not “inconsistent

 5   with”—COPPA. Jones, 56 F.4th at 740.

 6              2. Section 230 of the Communications Decency Act

 7            Section 230 of the Communications Decency Act prohibits a “provider or user of an

 8   interactive computer service” from being “treated as the publisher or speaker of any information

 9   provided by another information content provider.” 47 U.S.C. §230(c)(1). It permits enforcement
10   of “any State law that is consistent with [Section 230]” and prohibits bringing a cause of action or
11   imposing liability that is “inconsistent[.]” 47 U.S.C. §230 (e)(3). Plaintiff’s preemption theory
12   here is that AB 2273’s requirements that businesses enforce their own published terms, policies,
13   and community standards, and AB 2273’s restrictions on the use of minors’ personal information,
14   are inconsistent with Section 230. Pl. Br. at 28–29. Neither of these theories has any merit.
15          Nothing in Section 230 prevents a State from holding businesses accountable for doing
16   what they say they are going to do, or preempts the numerous state laws regulating false
17   advertising or unfair business practices. And binding precedent explicitly holds that Section 230
18   does not prevent online businesses from being held liable for their own conduct. See, e.g.,
19   HomeAway.com, 918 F.3d 676 (rejecting Section 230 immunity for processing rental bookings
20   posted by others on website); Fair Hous. Council of San Fernando Valley v. Roommates.com,

21   LLC, 521 F.3d 1157 (9th Cir. 2008) (rejecting Section 230 immunity for designing website that

22   facilitates discrimination); Barnes, 570 F.3d 1096 (promissory estoppel claim not preempted

23   given company’s promise to remove fake profiles); cf. Doe v. Internet Brands, Inc., 824 F.3d 846,

24   852 (9th Cir. 2016) (Section 230 “does not declare a general immunity from liability deriving

25   from third-party content.”).

26          Likewise, AB 2273’s restrictions on the collection and use of children’s personal

27   information does not conflict with Section 230. As explained above, Arg.I.A.2, businesses can

28   continue to publish and provide children access to the content they search for. AB 2273 simply
                                                    29
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 1   prevents businesses from using children’s personal information in specified ways. The fact that

 2   Plaintiff’s members wish to use that information in connection with decisions about publishing

 3   third-party content does not immunize the collection of children’s personal information from any

 4   regulation by the States. It is well-established in this circuit that the government can restrict how

 5   businesses collect and use consumer data without running afoul of Section 230. See

 6   Roommates.com, 521 F.3d at 1171 (rejecting Section 230 immunity where “website is designed to

 7   force subscribers to divulge” certain personal information). Indeed, COPPA itself places

 8   limitations on the collection and use of children’s data; it is implausible that Congress intended

 9   for Section 230 to preempt state-law data restrictions similar to those that Congress has itself
10   imposed. AB 2273 is not preempted by Section 230.
11   II.   OTHER INJUNCTION FACTORS WEIGH AGAINST RELIEF
12          A plaintiff must establish that it will likely suffer irreparable harm if the injunction is not
13   granted. Winter, 555 U.S. at 22. As discussed above, Plaintiff has not been deprived of any
14   constitutional right. Because AB 2273 goes into effect on July 1, 2024, any allegation of
15   imminent enforcement fails. §1798.99.31. Plaintiff’s vague and speculative allegations of
16   financial injury are insufficient to support a finding of irreparable harm, Goldie’s Bookstore, Inc.
17   v. Sup. Ct. of Cal., 739 F2d 466, 472 (9th Cir. 1984), especially given that many of Plaintiff’s
18   members must already comply with a substantially similar UK law, ICO Decl. ¶¶ 18–23, 65.
19          The balance of equities and the public interest also militate against issuing an injunction.
20   Nken v. Holder, 556 U.S. 418, 435 (2009) (factors merge when government is party). It is in the

21   public interest to advance the safety and protection of minors. See e.g., Ferris, 891 F.2d at 717;

22   see generally Radesky Decl. ¶¶ 45–85 (children’s vulnerability and risks online), ¶¶ 86–103

23   (efficacy of AB 2273); Egelman Decl. ¶¶ 35–52 (children’s privacy and AB 2273). Further, an

24   injunction would inflict irreparable harm upon California by preventing enforcement of a statute

25   enacted by representatives of the people. Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts,

26   C.J., in chambers). The balancing weighs sharply against granting the motion.

27                                               CONCLUSION
28          Plaintiff’s motion should be denied.
                                                         30
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 1   Dated: April 21, 2023                                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

Case Name:        NetChoice, LLC v. Rob Bonta
Case No.          5:22-cv-08861-BLF

I hereby certify that on April 21, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

         DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR
         PRELIMINARY INJUNCTION
         DECLARATION OF SERGE EGELMAN, PH.D. IN SUPPORT OF
         DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR
         PRELIMINARY INJUNCTION with Exhibit A
         DECLARATION OF EMILY KEANEY, DEPUTY COMMISSIONER OF
         REGULATORY POLICY FOR THE INFORMATION COMMISSIONER’S
         OFFICE IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFF’S
         MOTION FOR PRELIMINARY INJUNCTION with Exhibits A to C
         DECLARATION OF JENNY S. RADESKY, MD IN SUPPORT OF DEFENDANT’S
         OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
         with Exhibit A

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 21,
2023, at San Francisco, California.

                  G. Pang
                  Declarant                                          Signature
SA2022305631/43662549.docx
